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UNITED STATES DISTRICT COURT
OF MASSACHUTTES
-------------------------------------x
MARTHA ACCETTULLO, et al

                          Plaintiffs1, COMPLAINT
                                                                                C.A. No. 04-10981-PBS
        v.                    Plaintiffs Demands
                              Trial by Jury
PFIZER INC., PARKE-DAVIS,
a division of Warner-Lambert Company
and Warner-Lambert Company LLC,
WARNER-LAMBERT COMPANY and
WARNER-LAMBERT COMPANY LLC,

                       Defendants.
-------------------------------------x

                     PLAINTIFFS FIRST AMENDED COMPLAINT2

        Plaintiffs, by attorneys, Law Offices of Newton B. Schwartz, Sr., Jack W.

Harang and Sacks & Weston as and for the Verified Complaint herein alleges upon

information and belief the following:

                                   STATEMENT OF THE CASE

1.      This is an action to recover damages for personal injuries and/or death

sustained by the Plaintiffs, MARTHA ACCETTULLO, et al, as the direct and

proximate result of defendants’ wrongful conduct in connection with the designing,

developing,         manufacturing,          distributing,        labeling,       advertising,        marketing,

1
  Plantiffs are listed on Ex. A attached hereto and incorporated by relevance herein. Its shows stated residence of
each Plaintiff. Defendant(s) are being furnished with Ex. A.
2
  Per FR CIV.P 15(a) by leave of Court pending, per certificate with opposing counsel on September 8, 2006 Allow
by written consent if not opposed by Defendants. This Amended pleading reverts back to date of the original filing
prior to tranfer to the MDL above, per F.R. CIV.P 15(c)(1)(2).
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promoting and selling of the prescription drug Neurontin, especially for such “off-

label” uses as the treatment of peripheral neuropathy, diabetic neuropathy,

trigeminal neuralgia, attention deficit disorder (ADD), periodic limb movement

disorder, post-herpetic neuralgia, painful diabetic neuralgia, anxiety disorder,

social phobias, bipolar disorder, alcohol withdrawal syndrome, amyotrophic lateral

sclerosis (ALS), spinal cord injury, essential tremor, restless leg syndrome, reflex

sympathetic dystrophy (RSD), and migraine headaches, among other “off-label”

uses, herein after the “17 conditions”, a purpose for which Neurontin had not

received FDA approval, and at dosages higher than had been approved by the FDA

and had been properly tested on humans, even though the drug had not been tested

and studied for that purpose and had not been found to be safe and effective at any

dosage for the treatment of above “off-label” uses.

                        PARTIES AND JURISDICTION

2.    Jurisdiction exists as against the defendants, PFIZER INC., PARKE-

DAVIS, a division of Warner-Lambert Company and Warner-Lambert Company

LLC (hereinafter “PARKE-DAVIS”), WARNER-LAMBERT COMPANY and

WARNER-LAMBERT COMPANY LLC, pursuant to:

      a. 28    U.S.C.   Section    1332,       in   that   the   plaintiffs,   MARTHA

      ACCETTULLO, et al are citizens and residents of the States shown on Ex.

      A, the defendant, PFIZER INC., is incorporated in business in the State of



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      Delaware and maintains its principal place of business in the State of New

      York, the defendant, PARKE-DAVIS, is incorporated in the State of

      Michigan, and maintains its principal place of business in the State of New

      Jersey, the defendant, WARNER-LAMBERT COMPANY, is incorporated

      in the State of Delaware and maintains its principal place of business in the

      State of New Jersey, the defendant, WARNER-LAMBERT COMPANY

      LLC, is a limited liability company organized under the laws of the State of

      Delaware, whose sole shareholder and member is the defendant, PFIZER

      INC., and the amount in controversy exceeds the sum of $75,000.00

      exclusive of interest and costs.

      b. 28 U.S.C. Section 1391(a) et seq., in that jurisdiction is founded only on

      diversity of citizenship, and a substantial part of the events or omissions

      giving rise to these claims occurred in the Judicial Districts in the states as

      alleged herein after.

3.    That at all times hereinafter mentioned, upon information and belief, the

defendant, PFIZER, INC., was and still is a foreign corporation organized under

the laws of the Sate of Delaware.

4.    That at all times hereinafter mentioned, upon information and belief, the

defendant, PFIZER INC., was and still is a foreign corporation authorized to do

business in the State of New York.



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5.    That at all times hereinafter mentioned, upon information and belief, the

defendant, PFIZER INC., was and still is a business entity actually doing business

in the State of New York.

6.    That at all times hereinafter mentioned, upon information and belief, the

defendant, PARKE-DAVIS, a division of Warner-Lambert Company and Warner-

Lambert Company LLC (hereinafter "PARKE-DAVIS"), was and still is a foreign

corporation organized under the laws of the State of Michigan.

7.    That at all times hereinafter mentioned, upon information and belief, the

defendant, PARKE-DAVIS, was and still is a foreign corporation authorized to do

business in the State of New York.

8.    That at all times hereinafter mentioned, upon information and belief, the

defendant, PARKE-DAVIS, was and still is a business entity actually doing

business in the State of New York.

9.    That at all times hereinafter mentioned, upon information and belief, the

defendant, WARNER-LAMBERT COMPANY was and still is a foreign

corporation organized under the laws of the State of Delaware.

10.   That at all times hereinafter mentioned, upon information and belief, the

defendant, WARNER-LAMBERT COMPANY, was and still is a foreign

corporation authorized to do business in the State of New York.




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11.   That at all times hereinafter mentioned, upon information and belief, the

defendant, WARNER-LAMBERT COMPANY, was and still is a business entity

actually doing business in the State of New York.

12.   That at all times hereinafter mentioned, upon information and belief, the

defendant, PARKE-DAVIS, is a division of the defendant, WARNER-LAMBERT

COMPANY.

13.   That at all times hereinafter mentioned, upon information and belief, the

defendant, PARKE-DAVIS, is a subsidiary of the defendant, WARNER-

LAMBERT COMPANY.

14.   That at all times hereinafter mentioned, upon information and belief, the

defendant, WARNER-LAMBERT COMPANY LLC, was and still is a foreign

limited liability company organized under the laws of the State of Delaware.

15.   That at all times hereinafter mentioned, upon information and belief, the

defendant, WARNER-LAMBERT COMPANY LLC, was and still is a foreign

limited liability company authorized to do business in the State of New York.

16.   That at all times hereinafter mentioned, upon information and belief, the

defendant, WARNER-LAMBERT COMPANY LLC, was and still is a business

entity actually doing business in the State of New York.




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17.   That at all times hereinafter mentioned, upon information and belief, the

defendant, PFIZER INC., is the sole shareholder and member of the defendant,

WARNER-LAMBERT COMPANY LLC.

18.   That at all times hereinafter mentioned, upon information and belief, the

defendant, PARKE-DAVIS, is a division of the defendant, WARNER-LAMBERT

COMPANY LLC.

19.   That at all times hereinafter mentioned, upon information and belief, the

defendant, PARKE-DAVIS, is a subsidiary of the defendant, WARNER-

LAMBERT COMPANY LLC.

20.   That at all times hereinafter mentioned, upon information and belief, the

defendant, WARNER-LAMBERT COMPANY, is a division of the defendant,

PFIZER INC.

21.   That at all times hereinafter mentioned, upon information and belief, the

defendant, WARNER-LAMBERT COMPANY, is a subsidiary of the defendant,

PFIZER INC.

22.   That at all times hereinafter mentioned, upon information and belief, the

defendant, WARNER-LAMBERT COMPANY, is a successor in interest to the

defendant, PARKE-DAVIS.




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23.   That at all times hereinafter mentioned, upon information and belief, the

defendant, WARNER-LAMBERT COMPANY LLC, is a division of the

defendant, PFIZER INC.

24.   That at all times hereinafter mentioned, upon information and belief, the

defendant, WARNER-LAMBERT COMPANY LLC, is a subsidiary of the

defendant, PFIZER INC.

25.   That at all times hereinafter mentioned, upon information and belief, the

defendant, WARNER-LAMBERT COMPANY LLC, is a successor in interest to

the defendant, PARKE-DAVIS.

26.   That at all times hereinafter mentioned, upon information and belief, the

defendant, WARNER-LAMBERT COMPANY, is a successor in interest to the

defendant, PARKE-DAVIS.

27.   That on a date prior to June 4, 2004, the defendant, WARNER-LAMBERT

COMPANY, assumed the assets and liabilities of the defendant, PARKE-DAVIS.

28.   That on a date prior to June 4, 2004, the defendant, WARNER-LAMBERT

COMPANY, expressly assumed all liabilities and obligations of the defendant,

PARKE-DAVIS.

29.   That on a date prior to June 4, 2004, the defendant, WARNER-LAMBERT

COMPANY, impliedly assumed all liabilities and obligations of the defendant,

PARKE-DAVIS.



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30.   That on a date prior to June 4, 2004, the defendant, PARKE-DAVIS, and the

defendant, WARNER-LAMBERT COMPANY, merged with each other.

31.   That on a date prior to June 4, 2004, the defendant, PARKE-DAVIS, merged

with the defendant, WARNER-LAMBERT COMPANY, and the defendant,

PARKE-DAVIS, became a part of the defendant, WARNER-LAMBERT

COMPANY.

32.   That on a date prior to June 4, 2004, the defendant, PARKE-DAVIS, and the

defendant, WARNER-LAMBERT COMPANY, consolidated with each other.

33.   That on or about December 31, 2002, the defendant, WARNER-LAMBERT

COMPANY LLC, assumed the assets and liabilities of the defendant, PARKE-

DAVIS.

34.   That on or about December 31, 2002, the defendant, WARNER-LAMBERT

COMPANY LLC, expressly assumed all liabilities and obligations of the

defendant, PARKE-DAVIS.

35.   That on or about December 31, 2002, the defendant, WARNER-LAMBERT

COMPANY LLC, impliedly assumed all liabilities and obligations of the

defendant, PARKE-DAVIS.

36.   That on or about December 31, 2002, the defendant, PARKE-DAVIS, and

the defendant, WARNER-LAMBERT COMPANY LLC, merged with each other.




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37.      That on or about December 31, 2002, the defendant, PARKE-DAVIS,

merged with the defendant, WARNER-LAMBERT COMPANY LLC, and the

defendant, PARKE-DAVIS, became a part of the defendant, WARNER-

LAMBERT COMPANY LLC.

38.      That on or prior to December 31, 2002, the defendant, PARKE-DAVIS, and

the defendant, WARNER-LAMBERT COMPANY LLC, consolidated with each

other.

39.      That at all times hereinafter mentioned, upon information and belief, the

defendant, WARNER-LAMBERT COMPANY LLC, is a successor in interest to

the defendant, WARNER-LAMBERT COMPANY.

40.      That on or prior to December 31, 2002, the defendant, WARNER-

LAMBERT COMPANY LLC, assumed the assets and liabilities of the defendant,

WARNER-LAMBERT COMPANY.

41.      That on or prior to December 31, 2002, the defendant, WARNER-

LAMBERT COMPANY LLC, expressly assumed all liabilities and obligations of

the defendant, WARNER-LAMBERT COMPANY.

42.      That on or prior to December 31, 2002, the defendant, WARNER-

LAMBERT COMPANY LLC, impliedly assumed all liabilities and obligations of

the defendant, WARNER-LAMBERT COMPANY.




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43.   That on or prior to December 31, 2002, the defendant, WARNER-

LAMBERT COMPANY, and the defendant, WARNER-LAMBERT COMPANY

LLC, merged with each other.

44.   That on or prior to December 31, 2002, the defendant, WARNER-

LAMBERT COMPANY, merged with the defendant, WARNER-LAMBERT

COMPANY LLC, and the defendant, WARNER-LAMBERT COMPANY,

became a part of the defendant, WARNER-LAMBERT COMPANY LLC.

45.   That on or prior to December 31, 2002, the defendant, WARNER-

LAMBERT COMPANY, and the defendant, WARNER-LAMBERT COMPANY

LLC, consolidated with each other.

46.   That at all times hereinafter mentioned, upon information and belief, the

defendant, PFIZER INC., is a successor in interest to the defendant, PARKE-

DAVIS.

47.   That at all times hereinafter mentioned, upon information and belief, the

defendant, PFIZER INC., is a successor in interest to the defendant, WARNER-

LAMBERT COMPANY.

48.   That at all times hereinafter mentioned, upon information and belief, the

defendant, PFIZER INC., is a successor in interest to the defendant, WARNER-

LAMBERT COMPANY LLC.




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49.   That on a date prior to June 4, 2004, the defendant, PFIZER INC., assumed

the assets and liabilities of the defendant, PARKE-DAVIS.

50.   That on a date prior to June 4, 2004, the defendant, PFIZER INC., assumed

the assets and liabilities of the defendant, WARNER-LAMBERT COMPANY.

51.   That on a date prior to June 4, 2004, the defendant, PFIZER INC., expressly

assumed all liabilities and obligations of the defendant, PARKE-DAVIS.

52.   That on a date prior to June 4, 2004, the defendant, PFIZER INC., impliedly

assumed all liabilities and obligations of the defendant, PARKE-DAVIS.

53.   That on a date prior to June 4, 2004, the defendant, PFIZER INC., expressly

assumed all liabilities and obligations of the defendant, WARNER-LAMBERT

COMPANY.

54.   That on a date prior to June 4, 2004, the defendant, PFIZER INC., impliedly

assumed all liabilities and obligations of the defendant, WARNER-LAMBERT

COMPANY.

55.   That on or prior to December 31, 2002, the defendant, PFIZER INC.,

assumed the assets and liabilities of the defendant, WARNER-LAMBERT

COMPANY LLC.

56.   That on or prior to December 31, 2002, the defendant, PFIZER INC.,

expressly assumed all liabilities and obligations of the defendant, WARNER-

LAMBERT COMPANY LLC.



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57.   That on or prior to December 31, 2002, the defendant, PFIZER INC.,

impliedly assumed all liabilities and obligations of the defendant WARNER-

LAMBERT COMPANY LLC.

58.   That on a date prior to June 4, 2004, the defendant, PFIZER INC., and the

defendant, PARKE-DAVIS, merged with each other.

59.   That on a date prior to June 4, 2004, the defendant, PFIZER INC., and the

defendant, WARNER-LAMBERT COMPANY, merged with each other.

60.   That on or before June 4, 2004, the defendant, PFIZER INC., and the

defendant, WARNER-LAMBERT COMPANY LLC, merged with each other.

61.   That on a date prior to June 4, 2004, the defendant, PFIZER INC., and the

defendant, PARKE-DAVIS, merged with each other and the defendant, PARKE-

DAVIS, became a part of the defendant, PFIZER INC.

62.   That on a date prior to June 4, 2004, the defendant, PFIZER INC., and the

defendant, WARNER-LAMBERT COMPANY, merged with each other and the

defendant, WARNER-LAMBERT COMPANY, became a part of the defendant,

PFIZER INC.

63.   That on or prior to December 31, 2002, the defendant, PFIZER INC., and

the defendant, WARNER-LAMBERT COMPANY LLC, merged with each other

and the defendant, WARNER-LAMBERT COMPANY LLC, became a part of the

defendant, PFIZER INC.



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64.     That on a date prior to June 4, 2004, the defendant, PFIZER INC., and the

defendant, PARKE-DAVIS, consolidated with each other.

65.     That on a date prior to June 4, 2004, the defendant, PFIZER INC., and the

defendant, WARNER-LAMBERT COMPANY, consolidated with each other.

66.     That at all times hereinafter mentioned, upon information and belief, the

defendant, PFIZER INC., has its principal place of business in the State of New

York.

67.     In the year 2000, the defendant, PFIZER INC., acquired the defendant,

WARNER-LAMBERT COMPANY, and as the result of that acquisition, the

defendant, PFIZER INC., is responsible for all liabilities resulting from the acts or

omissions of the defendant, WARNER-LAMBERT COMPANY, which occurred

prior to such acquisition.

68.     In the year 2000, the defendant, PFIZER INC., acquired the defendant,

PARKE-DAVIS, a division of Warner-Lambert Company, and as the result of that

acquisition, the defendant, PFIZER INC., is responsible for all liabilities resulting

from the acts or omissions of the defendant, PARKE-DAVIS, which occurred prior

to such acquisition.

69.     On or prior to December 31, 2002, defendant, PFIZER INC., acquired the

defendant, WARNER-LAMBERT COMPANY LLC, and pursuant to the terms of

and conditions of that acquisition, the defendant, PFIZER INC., is responsible for



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all acts or omissions of the defendant, WARNER LAMBERT-COMPANY, LLC,

occurring prior to such acquisition.

70.   That at all times hereinafter mentioned, upon information and belief, the

defendant, PFIZER INC., presently markets and sells the drug Neurontin.

71.   That on a date prior to June 4, 2004, the defendant, PFIZER INC., marketed

and sold the drug Neurontin.

72.   That at all times hereinafter mentioned, upon information and belief, the

defendant, PFIZER INC., is engaged in the business of designing, manufacturing,

advertising, marketing, and selling pharmaceutical drugs, including Neurontin, and

in pursuance of this business, transacts business within the State of New York and

contracts to provide goods and services in the State of New York.

73.   That at all times hereinafter mentioned, upon information and belief, the

defendant, PFIZER INC., committed a tortuous act inside the State of New York,

which caused injury to plaintiffs.

74.   That at all times hereinafter mentioned, upon information and belief, the

defendant, PFIZER INC., committed a tortuous act outside the State of New York,

which caused injury to plaintiffs.

75.   That at all times hereinafter mentioned, upon information and belief, the

defendant, PFIZER INC., regularly does and solicits business and engages in a




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persistent course of conduct in the State of New York, deriving substantial revenue

from goods and products consumed in the State of New York.

76.   That at all times hereinafter mentioned, upon information and belief, the

defendant, PFIZER INC., expects or should reasonably expect its acts to have

consequences in the State of New York, and derives substantial revenue from

interstate or international commerce.

77.   That at all times hereinafter mentioned, upon information and belief, the

defendant, PARKE-DAVIS, presently markets and sells the drug Neurontin.

78.   That on a date prior to June 4, 2004, the defendant, PARKE-DAVIS,

marketed and sold the drug Neurontin.

79.   That at all times hereinafter mentioned, upon information and belief, the

defendant, PARKE-DAVIS, is engaged in the business of designing,

manufacturing, advertising, marketing, and selling pharmaceutical drugs, including

Neurontin, and in pursuance of this business, transacts business within the State of

New York and contracts to provide goods and services in the State of New York.

80.   That at all times hereinafter mentioned, upon information and belief, the

defendant, PARKE-DAVIS, committed a tortuous act inside the State of New

York, which caused injury to plaintiffs.




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81.   That at all times hereinafter mentioned, upon information and belief, the

defendant, PARKE-DAVIS, committed a tortuous act outside the State of New

York, which caused injury to plaintiffs.

82.   That at all times hereinafter mentioned, upon information and belief, the

defendant, PARKE-DAVIS, regularly does and solicits business and engages in a

persistent course of conduct in the State of New York, deriving substantial revenue

from goods and products consumed in the State of New York.

83.   That at all times hereinafter mentioned, upon information and belief, the

defendant, PARKE-DAVIS, expects or should reasonably expect its acts to have

consequences in the State of New York, and derives substantial revenue from

interstate or international commerce.

84.   That at all times hereinafter mentioned, upon information and belief, the

defendant, WARNER-LAMBERT COMPANY, presently markets and sells the

drug Neurontin.

85.   That on a date prior to June 4, 2004, the defendant, WARNER-LAMBERT

COMPANY, marketed and sold the drug Neurontin.

86.   That at all times hereinafter mentioned, upon information and belief, the

defendant, WARNER-LAMBERT COMPANY, is engaged in the business of

designing, manufacturing, advertising, marketing, and selling pharmaceutical

drugs, including Neurontin, and in pursuance of this business, transacts business



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within the State of New York and contracts to provide goods and services in the

State of New York.

87.     That at all times hereinafter mentioned, upon information and belief, the

defendant, WARNER-LAMBERT COMPANY, committed a tortuous act inside

the State of New York, which caused injury to plaintiffs.

88.     That at all times hereinafter mentioned, upon information and belief, the

defendant, WARNER-LAMBERT COMPANY, committed a tortuous act outside

the State of New York, which caused injury to plaintiffs.

89.     That at all times hereinafter mentioned, upon information and belief, the

defendant, WARNER-LAMBERT COMPANY, regularly does and solicits

business and engages in a persistent course of conduct in the State of New York,

deriving substantial revenue from goods and products consumed in State of New

York.

90.     That at all times hereinafter mentioned, upon information and belief, the

defendant, WARNER-LAMBERT COMPANY, expects or should reasonably

expect its acts to have consequences in the State of New York, and derives

substantial revenue from interstate or international commerce.

91.     That at all times hereinafter mentioned, upon information and belief, the

defendant, WARNER-LAMBERT COMPANY LLC, presently markets and sells

the drug Neurontin.



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92.     That on a date prior to June 4, 2004, the defendant, WARNER-LAMBERT

COMPANY LLC, marketed and sold the drug Neurontin.

93.     That at all times hereinafter mentioned, upon information and belief, the

defendant, WARNER-LAMBERT COMPANY LLC, is engaged in the business of

designing, manufacturing, advertising, marketing, and selling pharmaceutical

drugs, including Neurontin, and in pursuance of this business, transacts business

within the State of New York.

94.     That at all times hereinafter mentioned, upon information and belief, the

defendant, WARNER-LAMBERT COMPANY LLC, committed a tortuous act

inside the State of New York, which caused injury to plaintiffs.

95.     That at all times hereinafter mentioned, upon information and belief, the

defendant, WARNER-LAMBERT COMPANY LLC, committed a tortuous act

outside the State of New York, which caused injury to plaintiffs.

96.     That at all times hereinafter mentioned, upon information and belief, the

defendant, WARNER-LAMBERT COMPANY LLC, regularly does and solicits

business and engages in a persistent course of conduct in the State of New York,

deriving substantial revenue from good and products consumed in the State of New

York.

97.     That at all times hereinafter mentioned, upon information and belief, the

defendant, WARNER-LAMBERT COMPANY LLC, regularly does and solicits



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business and engages in a persistent course of conduct in the State of New York,

deriving substantial revenue from interstate commerce.


                                  BACKGROUND

                         STATEMENT OF THE CASE

98.   Pursuant to the Food, Drug, and Cosmetic Act (“FDCA”) 21 U.S.C. §§ 301

et seq., new pharmaceutical drugs cannot be distributed in interstate commerce

unless the sponsor of the drug demonstrates to the satisfaction of the Food and

Drug Administration (“FDA”) that the drug is safe and effective for each of its

intended uses. 21 U.S.C. § 355(a) and (d).

99.   However, the FDCA does not prevent doctors from prescribing a drug

approved for a particular use for other uses that are different than those approved

by the FDA (“off-label” usage).

100. Nonetheless, even though physicians may prescribe drugs for “off-label”

usage, the FDCA prohibits drug manufacturers themselves from marketing and

promoting a drug for a use that the FDA has not approved. 21 U.S.C. § 331(d).

101. A manufacturer illegally “misbrands” a drug if the drug’s labeling includes

information about unapproved uses or if the manufacturer engages directly or

indirectly in marketing or promoting the drug for unapproved uses.

102. Instead, if a manufacturer desires to market and promote the drug for new

uses in addition to those already approved, the materials on “off-label” usage must

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meet certain stringent requirements and the manufacturer must resubmit the drug to

the FDA testing and approval process for the proposed new use.

103. The above-described statutory and regulatory system and process is designed

to protect the public, including plaintiffs, from the dangers arising from drugs

which, although approved for a certain specific condition, disease or purpose,

could cause injury and harm if used for an “off-label” purpose without adequate

study and testing of the drug for such “off-label” usage and to protect the public,

including plaintiffs herein, from the dangers arising from deceptive, misleading,

and inaccurate advertising, marketing, and promotional materials issued directly or

indirectly by the manufacturer to encourage the “off-label” usage of the drug

without adequate testing and study of that drug for such “off-label” usage.

104. PARKE-DAVIS, now owned by PFIZER INC., applied for, and in

December, 1993, received FDA approval to market and sell Neurontin solely for

“adjunctive therapy” in the treatment of certain types of seizures in adult patients

suffering from epilepsy, and the FDA approved labeling of Neurontin for that

purpose and stated that the drug is only effective at 900 to 1800 milligrams per

day.

105. Defendants did not receive FDA approval for any other use of Neurontin

except for the above-described treatment of epilepsy or for higher dosages for any




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purpose, and the FDA never approved the usage of Neurontin at any dosage for the

treatment of the “17 conditions”.

106. Commencing in 1995, defendants, as the manufacturer of Neurontin, began

to directly and indirectly advertise, market and promote Neurontin for additional

“off-label” uses for which FDA approval had not been obtained, including

treatment for the “17 conditions” at higher dosages than had been tested and

approved, in violation of the above-described statutory and regulatory system and

process, including the FDCA, which prohibits manufacturers from directly or

indirectly advertising, marketing and promoting a drug for “off-label” usage, and

instead requires that the manufacturer resubmit the drug to the FDA testing and

approval process for the proposed new use and that the materials issued by the

manufacturer relating to the proposed new use meet certain stringent requirements.

107. Defendants, as the manufacturer of Neurontin, directly and indirectly

advertised, marketed and promoted Neurontin for the treatment of the “17

conditions”, and encouraged that higher dosages than those tested be prescribed,

even though defendants knew or should have known that there were not adequate

tests and studies establishing and confirming that Neurontin was safe and effective

for the treatment of above “17 conditions”, and even though defendants knew or

should have known that there were no adequate studies showing that Neurontin

was safe when prescribed at dosages higher than those approved by the FDA.



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108. At all times hereinafter mentioned, upon information and belief, defendants

marketed and promoted Neurontin for the treatment of the “17 conditions” even

though defendants knew or should have known that Neurontin caused many

symptoms or related risk factors associated with suicidal behavior by persons

suffering from above “17 conditions”.

109. At all times hereinafter mentioned, upon information and belief, defendants

marketed and promoted Neurontin for the treatment of the “17 conditions” even

though defendants knew or should have known that Neurontin had no effect in

relieving or correcting the conditions or causes of above uses.

110. Defendants’ conduct in promoting “off-label” uses of Neurontin for

treatment of the “17 conditions” constituted a wanton, callous and reckless

disregard of the safety of the public.

111. In promoting “off-label” uses of Neurontin, and at higher dosages than

approved by the FDA, including treatment of the “17 conditions”, defendants acted

without regard to the potential danger and harm to persons for whom the drug was

prescribed for the treatment of above “17 conditions” hereinafter, “conditions”.

112. Defendants actively distributed, sold and placed Neurontin into the stream of

commerce and directly and indirectly advertised, marketed and promoted

Neurontin as being safe and effective for the treatment of pain and in dosages

higher than those approved by the FDA, even though the only approved use of



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Neurontin at that time was as “adjunctive therapy” for the treatment of epilepsy

and even though the FDA had specified a maximum recommended dosage.

113. Neurontin is not reasonably safe and effective for the treatment of persons

suffering from the “conditions” and is not reasonably safe when consumed in

higher dosages than those approved by the FDA, and defendants’ conduct of

illegally advertising, marketing and promoting Neurontin for “off-label” uses was

unlawful, deceptive and misleading and was in violation of the FDCA.

114. By reason of defendants’ conduct of directly and indirectly advertising,

marketing and promoting Neurontin for the treatment of pain in an unlawful

manner, physicians commenced prescribing Neurontin to their patients diagnosed

as suffering from the “conditions”, frequently at dosages higher than those

approved by the FDA.

115. Upon information and belief, the defendant, WARNER-LAMBERT

COMPANY LLC, was indicted in the United States District Court for the District

of Massachusetts for violations of 21 U.S.C. §§ 331(a), 331(d), 333(a), 352(f)(1)

and 355, and a copy of such criminal Information is annexed hereto as Exhibit “B”

and incorporated into this complaint by reference.

116. Upon information and belief, on or about the 7th day of June, 2004, the

defendant, WARNER-LAMBERT COMPANY LLC, formally pled guilty to all

charges contained in the Information.



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117. The drug Neurontin was ineffective in the treatment of the causes and

symptoms of each plaintiffs conditions of the “conditions” as set forth in each

Plaintiffs individual medical records being provided contemporaneously been and

incorporated by relevance herein for all purposes the plaintiffs sustained injury and

harm by reason of this reliance upon Neurontin to be effective in the treatment as

prescribed by physicians of such “conditions”.

118. That at all times hereinafter mentioned, plaintiffs were diagnosed by their

physician as suffering from the “conditions” and were being treated by their

physicians for such conditions, as shown on each of their medical and hospital

records being contemporaneously furnished to Defendants with the filing of this

First Amended Original Complaint, including again for those transferred from the

WD AR previously furnished a disk of 14,000 plaintiffs and containing all of their

medical records of treatment. This was by agreement of counsel and the court

there prior to transfer to the MDL.

119. That at all times hereinafter mentioned, upon information and belief, in

reliance upon defendants’ direct and indirect advertising, marketing and promoting

of Neurontin as being safe and effective for the treatment of the “conditions”,

plaintiffs physician prescribed Neurontin to treat plaintiffs “conditions”.




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120. That at all times hereinafter mentioned, plaintiffs purchased and consumed

Neurontin, as recommended and prescribed by their physicians and in the dosages

prescribed, in an effort to control the effects of their conditions.

121. -The drug Neurontin was not safe and effective for the treatment of

plaintiffs’ “conditions”. Plaintiffs’ sustained personal injury and harm by reason

of their consumption of Neurontin as prescribed by their physicians in an effort to

treat their conditions.

122. The drug Neurontin was ineffective in the treatment of the causes and

symptoms of plaintiffs’ “conditions”. Plaintiffs’ sustained personal injury and

harm by reason of this reliance upon Neurontin to be effective in the treatment as

prescribed by their physicians of the “conditions”.

123. By reason of plaintiffs’ consumption of Neurontin in a manner and at a

dosage prescribed by their physicians in an effort to treat the “conditions”,

plaintiffs’ successfully and unsuccessfully attempted to commit suicide, thereby

sustained severe personal injuries.

124. The injuries and/or death sustained by each plaintiff was caused by or was

contributed to by each plaintiff’s consumption of Neurontin at a dosage prescribed

each by their physicians for the treatment of the “conditions”, in a manner

consistent with the direct and indirect advertising, marketing and promoting of this

drug for such “off-label” use by defendants.



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                     AS AND FOR A FIRST CAUSE OF
                   ACTION AGAINST THE DEFENDANTS

125. Plaintiffs repeat and reiterate the allegations previously set forth herein.

126. That at all times hereinafter mentioned, defendants were under a duty to

exercise reasonable care in the design and development of Neurontin and, in

particular, in the advertising, marketing and promoting of Neurontin, both directly

and indirectly, to ensure that Neurontin was not used in the treatment of conditions

such as the “conditions”, for which it was not effective and to ensure that

Neurontin was not used in a manner or to treat conditions where defendants knew

or should have known that the user could sustain injuries and harm from the drug.

127. That defendants negligently, recklessly, grossly negligently, wantonly and

willfully displayed a morally culpable and conscious disregard of the rights of

others in that they failed to exercise reasonable care and failed to fulfill the above-

stated duty by the manner that defendants, directly and indirectly, advertised,

marketed and promoted Neurontin for the treatment of the “conditions”, even

though Neurontin had not been scientifically determined to be safe for the

treatment of such above conditions and even though Neurontin was, in fact, not

reasonably safe for the treatment of such above conditions and furthermore,

defendants failed to adequately warn of the risk of suicide or aggressive, self-

destructive behavior of which defendants knew or should have known about.




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128. That defendants were further negligent, reckless, grossly negligent, wanton

and willfully displayed a morally culpable and conscious disregard of the rights of

others by manufacturing, distributing, selling, advertising, marketing and

promoting Neurontin even though such drug was not safe or effective for any

purpose because it caused or influenced persons using the drug for any purpose to

engage in self-destructive behavior including committing suicide and by failing to

adequately warn the public of such risks.

129. The aforesaid incident and the injuries sustained by plaintiffs were caused by

or was contributed to by the negligence, recklessness, gross negligence,

wantonness, willfulness, and conscious and callous disregard of the safety of the

public, including plaintiffs, on the part of defendants in the design, manufacture,

distribution, advertising, marketing and promoting of Neurontin as being safe and

effective treatment of the “conditions” and by inducing the public, including

plaintiffs, to believe that Neurontin was effective in the treatment and of the causes

and symptoms of above conditions.

130. That at all times hereinafter mentioned, upon information and belief, the

above-described culpable conduct by defendants was a proximate cause of injuries

sustained by plaintiffs.

131. That at all times hereinafter mentioned, plaintiffs did not contribute to their

injuries and/or death by reason of any negligence or culpable conduct on their part.



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132. That by reason of the foregoing, plaintiffs were caused to sustain severe and

serious personal injuries to their mind and body, some of which, upon information

and belief, are permanent with permanent effects of pain, disability, disfigurement

and loss of body function. Further, plaintiffs were caused to expend and become

obligated for diverse sums of money for the purpose of obtaining medical care

and/or cure in an effort to alleviate the suffering and ills sustained as a result of

these occurrences. Plaintiffs further were caused to lose substantial periods of time

from their normal vocation, and upon information and belief, may continue to be

restricted in that manner into the future and suffer similar losses. In addition,

plaintiffs are deprived of a chance for effective and/or successful treatment.

133. By reason of the foregoing, plaintiffs were each damaged in a sum which

exceeds the jurisdictional limits of all lower courts which would have jurisdiction

of this matter, and in addition, each plaintiff seeks punitive and exemplary

damages severally against defendants in an amount to be determined upon the trial

of this matter.


                    AS AND FOR A SECOND CAUSE OF
                   ACTION AGAINST THE DEFENDANTS


134. Plaintiffs repeat and reiterate the allegations previously set forth herein.

135. That at all times hereinafter mentioned, upon information and belief,

defendants, by directly and indirectly advertising, marketing and promoting

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Neurontin for the “conditions” by placing this drug in the stream of commerce

knowing that Neurontin would be prescribed for the treatment of above conditions

in reliance upon the representations of defendants, expressly warranted to all

foreseeable users of this drug, including plaintiffs, that Neurontin was safe and

effective for the treatment of above conditions.

136. That defendants impliedly warranted in manufacturing, distributing, selling,

advertising, marketing and promoting Neurontin to all foreseeable users, including

plaintiffs, that Neurontin was safe and effective for the purposes for which it had

been placed in the stream of commerce by defendants, including the “conditions”

that Neurontin was reasonably safe, proper, merchantable and fit for the intended

purposes, including for the treatment of the “conditions”.

137. That at all times hereinafter mentioned, plaintiffs each relied upon the

aforesaid express and implied warranties by defendants.

138. That at all times hereinafter mentioned, plaintiffs use of Neurontin prior to

and up to the time of the above-described incident was consistent with the purposes

for which defendants directly and indirectly advertised, marketed and promoted

Neurontin, and plaintiffs use of Neurontin was reasonably contemplated, intended

and foreseen by defendants at the time of the distribution and sale of Neurontin by

defendants, and, therefore, plaintiffs use of Neurontin was within the scope of the

above-described express and implied warranties.



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139. Defendants breached the aforesaid express and implied warranties because

Neurontin was not safe and effective for the treatment of the “conditions” and

because plaintiffs use of Neurontin for the treatment of above conditions caused or

contributed to the incidents described herein.

140. Plaintiffs each gave appropriate notice to defendants of the breach of the

aforesaid express and implied warranties or such notice was otherwise excused.

141. By reason of the foregoing, plaintiffs’ each sustained damages in a sum

which exceeds the jurisdictional limits of all lower courts which would have

jurisdiction of this matter, and in addition, plaintiffs seeks punitive and exemplary

damages against defendants severally in an amount to be determined upon the trial

of this matter.


                     AS AND FOR A THIRD CAUSE OF
                   ACTION AGAINST THE DEFENDANTS

142. Plaintiffs each repeat and reiterate the allegations previously set forth herein.

143. That at all times hereinafter mentioned, the drug Neurontin was not suited

for the treatment of the “conditions” and was not safe and effective for the

treatment of above conditions even though defendants directly and indirectly

advertised, marketed and promoted Neurontin for these “off-label” purposes.

144. That at all times hereinafter mentioned, the drug Neurontin was not safe and

was not suited for the purposes for which defendants, directly and indirectly,



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advertised, marketed and promoted the drug at the time defendants designed,

manufactured, distributed and sold the drug and placed the drug in the stream of

commerce.

145. That at all times hereinafter mentioned, upon information and belief,

defendants assumed a strict products liability to users and to persons using

Neurontin, including plaintiffs, who each sustained injuries, harm and damages by

reason of the use of Neurontin for purposes directly and indirectly advertised,

marketed, and promoted by defendants, including for the treatment of the

“conditions”.

146. By reason of the foregoing, each plaintiff was damaged in a sum which

exceeds the jurisdictional limits of all lower courts which would have jurisdiction

of this matter, and in addition, plaintiffs seeks punitive and exemplary damages

against defendants severally in an amount to be determined upon the trial of this

matter.


                    AS AND FOR A FOURTH CAUSE OF
                   ACTION AGAINST THE DEFENDANTS

147. Plaintiffs repeat and reiterate the allegations previously set forth herein.

148. Defendants materially misrepresented material facts concerning the safety

and effectiveness of Neurontin in the treatment of the “conditions”.




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149. Defendants’ affirmative misrepresentations include but are not limited to the

acts set forth in the following paragraphs.

150. In or about 1993, defendants submitted a new drug application (NDA) for

approval of a drug called Neurontin (also known by the chemical name

“Gabapentin”), which was a new drug within the meaning of 21 U.S.C. § 321(p)

and 21 C.F.R. § 310.3(h)(4) and (5). In that application, defendants sought to

demonstrate the drug’s safety and efficacy for, and sought approval for, use only as

adjunctive therapy in the treatment of partial seizures with and without secondary

generalization in adults with epilepsy. On or about December 30, 1993, the FDA

approved Neurontin for that specific use only. Because defendants had not sought

approval of any other uses nor submitted information in its NDA which

demonstrated the safety and efficacy of Neurontin for any such uses, Neurontin

was not approved for any use or condition other than that approved use.

151. Commencing in at least June of 1995 and continuing through at least the

date of this incident, unapproved uses for Neurontin included the “conditions”.

152. Defendants did not file a new NDA seeking FDA approval for any of these

unapproved uses at any time prior to the dates of these incidents.

153. Defendants conducted evaluations of the market potential for certain of the

unapproved uses for Neurontin, including but not limited to the “conditions”.




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154. In or about the fall of 1995, defendants’ Southeast Customer Business Unit

(“SECBU”) created a planning document regarding Neurontin, which included a

page titled: “SECBU RIGHT ON THE MARK WITH NEURONTIN AND PAIN”

over a picture of a target and listed “Neurontin for Pain Strategies” including plans

for conference calls on pain and a pain consultant meeting.

155. Certain defendants’ annual strategic plans and other marketing planning

documents for Neurontin included quarterly and annual goals, objectives, strategies

and tactics for increasing sales of the unapproved uses of the drug. The marketing

plans budgeted for and funded these tactics.

156. Commencing in early 1995 and continuing at least through the date of these

incidents, defendants determined not to seek FDA approval for certain unapproved

uses.

157. In or about April and May of 1995, defendants performed a marketing

assessment of proposed psychiatric indications for Neurontin. In that marketing

assessment, defendants forecast potential revenue from Neurontin for bipolar

disorder and anxiety treatment under two scenarios: with and without FDA

approval.      Defendants’ Neurontin Development Team and New Product

Committee reviewed the potential psychiatric uses and concluded that the

defendants would not seek approval to promote and sell the drug for these

unapproved uses.



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158. In or about July of 1995, defendants’ assessment of Neurontin’s market

potential for neuropathic pain was distributed to defendants’ Neurontin

Development Team and to defendants’ Vice President for marketing.               That

assessment stated that “there is no intention to fully develop the indication at this

point.” Full development would have required submission of an NDA to the FDA

for approval.

159. One of the principal factors defendants considered in determining whether to

seek approval for Neurontin for the other above “conditions” and uses was the

short patent protection available for Neurontin. Another factor was the negative

impact such approval might generate on potential sales of another drug that

defendants were developing.      Defendants expected this new drug would be

approved by the FDA not only for epilepsy but also for a variety of uses beyond

Neurontin’s approved use.

160. Once Neurontin’s patent expired, other companies could seek approval to

distribute generic equivalents of Neurontin. Such approval, however, would be

limited to the approved therapeutic use for Neurontin set forth in defendants’

original NDA approval for Neurontin. If defendants sought and obtained approval

for any of the unapproved uses, then upon expiration of the patent, generic

equivalents of Neurontin could also be sold for those unapproved uses. Defendants




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were concerned that under those circumstances the generic equivalents would

undermine sales of the new drug that was under development.

161. Commencing about June of 1995 until at least the date of this incident, by

certain conduct described in greater detail below, defendants promoted the sale and

use of Neurontin for certain conditions other than the approved use.

162. In October 1995, a member of defendants’ Epilepsy Disease Team circulated

a memorandum to a group including other senior members of defendants’ Epilepsy

Disease Team noting that data purchased from an outside vendor showed that

doctors had reported that the main message of certain sales pitches (known as

“details”), given by 10 of 50 of defendants’ sales representatives for whom data

was available in a two-month period, was for off-label use of Neurontin. Nine

were for pain and one was for reflex sympathetic dystrophy, a painful nerve

damage syndrome.

163. On or about July 10, 1996, defendants’ sales representative met with a

doctor in Monroe, Louisiana, and detailed a doctor on Neurontin for the treatment

of pain.

164. Also in 1996, a sales representative created a document that stated that sales

representatives could ask doctors during a Neurontin detail if they ever used other

anti-epileptic drugs for painful neuropathies and could mention that approximately

35% of all Neurontin use is non-seizure. This same document, entitled “Neurontin



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Can Do/Can’t Do,” stated that sales representatives could present lunch programs

on Neurontin and pain. The document indicated that it was to be forwarded to the

Northcentral Customer Business Unit.

165. Defendants employed “medical liaisons” who were presented to physicians

as employees of the company’s Medical and Scientific Affairs Department. On the

following occasions, which are not all-inclusive, defendants’ medical liaisons

promoted Neurontin for unapproved uses:

      a. In or about June of 1996 defendants’ sales representative requested that

      defendants’ medical liaison make a presentation at Longwood Gardens in

      Kennett Square, Pennsylvania, to a group of physicians who were members

      of a local medical society.

      b. The sales representative and the medical liaison selected the topic for the

      presentation to the local medical society. After deciding in consultation with

      the sales representative that Neurontin would be the topic of the

      presentation, the medical liaison prepared the presentation.

      c. Among the topics of the presentation was the use of Neurontin for

      unapproved uses.

      d. During the presentation, in the presence of the sales representative, the

      medical liaison promoted the use of Neurontin in the treatment of a number

      of unapproved uses.



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      e. After the presentation, defendants’ Medical Director praised the event as

      “another great example of use of the medical liaisons” and an area business

      manager called it an “outstanding utilization of…one of the medical affairs

      liaisons.”

166. Defendants organized a consultant meeting at the Jupiter Beach Resort in

Palm Beach, Florida, on April 19-21, 1996. Approximately 42 physicians attended

the meeting, including nine physicians who made presentations relating to

unapproved uses of Neurontin.

167. Defendants invited certain doctors to this meeting based upon their history

of writing a large number of prescriptions for Neurontin or similar drugs. As part

of this event, defendants paid for accommodations and meals for the invited

doctors and their spouse or guest, and paid an honorarium to each of the doctor

attendees.

168. Among the presentations made to the physicians in attendance was one

relating to unapproved uses entitled “Reduction of Pain Symptoms During

Treatment with Gabapentin.” In the meeting’s agenda, this presentation was listed

as “Anticonvulsant Advances.” During this presentation, Neurontin was promoted

for use in the treatment of pain.

169. Another presentation made at the Jupiter Beach conference was entitled

“Anticonvulsant Advances: Nonepileptic Uses of Anti Epileptic Drugs.” During



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this presentation, Neurontin was promoted for use in the treatment of essential

tremor, episodic dyscontrol and pain.

170. On or about May 8, 1996, following the Jupiter Beach conference,

defendants circulated to employees in the Northeast region the agenda to the

meeting, specifying the off-label topics, the faculty list, the attendee list and

presentation abstracts discussing the off-label content of the presentations.

171. From August 1-5, 1996, defendants organized an “advisory board meeting,”

in Atlanta, Georgia, in conjunction with the 1996 Summer Olympics. Defendants

expressly instructed several of the physician speakers to address some of the

unapproved uses.

172. During that meeting, defendants hosted doctors at the Chateau Elan Winery

and Resort, in Atlanta, Georgia, and paid all the expenses for eighteen

“consultants” and their spouses to attend the Olympics, including tickets to the

closing ceremonies. Defendants already had numerous opportunities to consult

with the doctors and, in fact, many of them had spoken on defendants’ behalf at

prior meetings.

173. Certain of the physician speakers promoted Neurontin for unapproved uses

in their presentations.

174. On or about March 1, 1996, defendants sponsored a teleconference

moderated by defendants’ employee with a pain specialist as a speaker on



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Neurontin. The speaker promoted Neurontin for the treatment of pain to doctors

participating in the teleconference.

175. In or about May, 1996, defendants’ Medical Director held such a

teleconference entitled “Neurontin, A Clinical Update” in which the Medical

Director promoted off-label uses of Neurontin to the doctors participating in the

teleconference.

176. Defendants hosted dozens of “consultants” meetings between late 1995 and

1997 in which the “consultants” received payments and gratuities as well as

presentations on “off-label” Neurontin use designed to change the physicians’

prescription writing habits. Such consultants’ meetings included, but were not

limited to the following:

TOPIC                                  LOCATION                 DATE

Mastering Epilepsy                     Las Costa Resort, CA     July 20-23, 1995
Mastering Epilepsy                     Santa Fe, NM             November 16-19,
                                                                1995
Neurontin Consultants                  Marco Island, FL         February 2-4, 1996
Conference
Pediatric Epilepsy                     Hutchinson Island, FL    February 9-11, 1996
Mastering Epilepsy Science             Walt Disney World, FL    February 22-25,
                                                                1996
Pediatric Epilepsy                     Hutchinson Island, FL    March 8-10, 1996
Mastering Epilepsy                     Ritz Carlton             April 18-21, 1996
                                       Aspen, CO
Neurological Consultants               Jupiter Beach, FL        April 19-21, 1996
(discussed previously)
Affective Disorders in Psychiatry Marco Island, FL              April 20, 1996
Affective Disorder Consultants    Southern Pines, NC            April 27, 1996


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Conference
Neuropathic Pain Conference      Palm Beach, FL               May 11, 1996
Regional Consultants Conference Ritz Carlton                  May 10-11, 1996
                                 Boston, MA
Epilepsy Management Advisors Sheraton Grande Torrey           June 21-23, 1996
Meeting                          Pines
                                 La Jolla, CA
Epilepsy Management              Rancho Bernardo, CA          June 28-30, 1996
Use of Anti-Convulsants in       Short Hills, NJ              October 18-19, 1996
Psychiatric Disorders
Non-epileptic Uses of Neurontin Longboat Key, FL              November 6, 1996
Neurological Conditions          Ritz Carlton                 September 27-28,
Conference                       Atlanta, GA                  1997
Other “consultants” meetings took place at Charleston, SC, Coconut Grove, FL,

Naples, FL, Memphis, TN, Louisville, KY, Washington, DC, Aspen, CO, and

other places. Hundreds, if not thousands, of physicians received kickbacks to

attend these events.

177. Defendants rewarded doctors for their advocacy of Neurontin by paying

those honoraria for lending their names to scientific articles which were actually

prepared and written by third parties retained by defendants. In 1996, defendants

retained AMM/ADELPHI, Ltd. and Medical Education Systems, Inc., to prepare

no less than twenty (20) articles for publication in various neurology and

psychiatry journals.   Most of these articles concerned “off-label” usage of

Neurontin and were generated so that defendants could completely control the

publications distributed pursuant to its “publications strategy.” The content of

these articles were actually written by non-physician technical writers retained by



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defendants and defendants had the right to control the content of all the articles.

Defendants paid all expenses in connection with the creation of these publications.

178. Defendants also founded a speakers’ bureau, another method of making

large and numerous payments to physicians who recommended Neurontin for “off-

label” uses, together with teleconferences, dinner meetings, consultants meetings,

educational seminars, and other events.

179. Defendants utilized medical liaisons who were provided with new company

slides that detailed methods to increase “off-label” use of Neurontin, including the

following:

             • Reflex sympathetic dystrophy (RSD)

             • Peripheral neuropathy

             • Diabetic neuropathy

             • Trigeminal neuralgia

             • Post-herpetic neuralgia

             • Essential tremor

             • Restless leg syndrome (RLS)

             • Attention deficit disorder (ADD)

             • Periodic limb movement disorder

             • Migraine

             • Bipolar disorder


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            • Amyotrophic lateral sclerosis (ALS/Lou Gehrig’s Disease)

            • Drug or alcohol withdrawal seizures

180. The following enumerated misrepresentations which are not intended to be

all-inclusive, relating to “off-label” usage of Neurontin were routinely made to

physicians with the knowledge and consent of marketing personnel of defendants:

      a. Bipolar Disorder.    Medical liaisons informed psychiatrists that early

      results from clinical trials evaluating Neurontin for the treatment of bipolar

      disorder indicated ninety percent (90%) response rate when Neurontin was

      started at 900 mg/day dosage and increased to a dosage of 4800 mg/day. No

      such results existed.

      b. Peripheral    Neuropathy,   Diabetic    Neuropathy,    and   Other    Pain

      Syndromes. Medical liaisons stated that clinical trials demonstrated that

      Neurontin was highly effective in the treatment of various pain syndromes

      and that a ninety percent (90%) response rate in the treatment of pain was

      being reported. No such body of evidence existed. Defendants continued to

      claim that physicians should use Neurontin at substantially higher doses than

      indicated by the labeling.     Indeed, although medical liaisons routinely

      claimed Neurontin to be effective as monotherapy, in 1997 the FDA refused

      to find Neurontin as a safe and effective monotherapy.




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c. Reflex Sympathetic Dystrophy (“RSD”). Medical liaisons informed

physicians that extensive evidence demonstrated the efficacy of Neurontin in

the treatment of RSD. The only such evidence that existed was anecdotal

reports of nominal scientific value.

d. Attention Deficit Disorder (“ADD”). Medical liaisons were instructed to

inform pediatricians that Neurontin was effective for the treatment of ADD.

No data, other than occasional anecdotal evidence, supported this claim.

e. Restless Leg Syndrome (“RLS”).          RLS was another condition where

defendants’ medical liaisons were trained to refer to a growing body of date

relating to the condition, when no scientific date existed.

f. Trigeminal Neuralgia.       Although medical liaisons represented that

Neurontin could treat trigeminal neuralgia, again no scientific data supported

this claim with the exception of occasional anecdotal reports.       No data

demonstrated that Neurontin was as effective as currently available pain

killers, most of which were inexpensive.

g. Post-Herpetic Neuralgia (“PHN”). Medical liaisons were trained to tell

physicians that seventy-five percent (75%) to eighty percent (80%) of all

PHN patients were successfully treated with Neurontin. Once again, no

clinical trial data supported such a claim.




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      h. Essential Tremor Periodic Limb Movement Disorder (“ETPLMD”).

      Medical liaisons were trained to allege that Neurontin was effective in the

      treatment of these conditions. No scientific data supported such claims with

      the exception of anecdotal reports of nominal scientific value.

      i. Migraine.    Claims that Neurontin was effective in the treatment of

      migraine headaches were made by the medical liaisons and were supposedly

      based on early results from clinical trials. Although pilot studies had been

      such suggested and undertaken, no early results of clinical trials existed to

      support these claims.     Once again, any data relating to treatment of

      migraines was purely anecdotal and of nominal scientific value. Most of the

      case reports were either created or sponsored by defendants.

      j. Drug and Alcohol Withdrawal Seizures. Medical liaisons suggested that

      Neurontin be used in the treatment of drug and alcohol withdrawals despite

      the lack of any data supporting Neurontin as an effective treatment for these

      conditions.

181. Defendants sponsored a 1998 study, which was scientifically valid,

conducted at the Harvard Bipolar Research Program, which concluded that patients

receiving Neurontin did worse than those on sugar pills, but even though

defendants were fully aware of these results from the tests which they sponsored,

defendants did not publish the results until two years later after a substantial



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number of physicians had already been induced to prescribe Neurontin and a

substantial number of patients had already been induced to take Neurontin.

182. At each of the presentations known to the plaintiffs concerning Neurontin on

pain, at least one of the presenters expressly stated or implied that Neurontin was

effective for the treatment of pain. A representative statement was made by Dr.

David Longmire, a participating physician, at the Jupiter Beach Consultants

Meeting in April 1996 when he stated that Neurontin was effective for the

treatment of pain.      Dr. Longmire repeated that statement at a May 1996

Consultants Meeting at the Ritz Carlton in Boston. Another physician participant,

Dr. Steven Schacter, made a similar statement at the May 1996 meeting when he

stated that "pain specialists are finding that low dosages of Neurontin are

effective." Comparable statements were made by another physician participant,

Dr. Bruce Nicholson, in April 1996 at the Jupiter Beach Consultants Meeting, in

May 1996 at the Boston Ritz Carlton Consultants Meeting, and in June 1996 at a

Philadelphia Consultants Meeting.        Upon information and belief, similar

statements were made at all events presented by defendants that discussed

Neurontin's use for pain indications. These events include, but are not limited to

the following events:

TOPIC                              LOCATION                          DATE

Neurontin Consultants Meeting      Jupiter Beach, FL                 April 19-21,
                                                                     1996

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Neurontin Consultants Meeting     Philadelphia, PA              May 3-4, 1996
Neurontin Consultants Meeting     Boston, MA                    May 10-11,
                                                                1996
New Directions in the Treatment   Madeira, Portugal             October 9-11,
of Neuropathic Pain                                             1998
Advisory Board Meeting            Grand Wailea Resort Hotel &   April 14-16,
                                  Spa                           2000
                                  Maui, HI
Merritt-Putnam Speakers           Enchantment Resort            April 28-30,
Training Advanced Perspectives    Sedona, AZ                    2000
in the Management of
Neurological and Mood
Disorders
New Treatment Options for the     Four Seasons                  April 2000
Management of Pain: The Role      Irving, TX
of Anticonvulsants
Advisory Board Meeting            Disney Yacht Club             May 26, 2000
                                  Orlando, FL
Advisory Board Meeting            Westin Resort                 June 16-18,
                                  Hilton Head, SC               2000
New Directions in the             Hilton Novi                   March 2-3,
Understanding and Treatment of    Detroit, MI                   2001
Pain
New Directions in the             Fairmont Kansas City          March 9-10,
Understanding and Treatment of    Kansas City, MO               2001
Pain
New Directions in the             Fairmont San Francisco        March 16-17,
Understanding and Treatment of    San Francisco, CA             2001
Pain
New Directions in the             Ritz Carlton New Orleans      March 23-24,
Understanding and Treatment of    New Orleans, LA               2001
Pain
New Directions in the             Sheraton Music City           March 23-24,
Understanding and Treatment of    Nashville, TN                 2001
Pain
New Directions in the             Plaza Hotel                   March 24,
Understanding and Treatment of    New York, NY                  2001
Pain
New Directions in the             Ritz Carlton St. Louis        March 30-31,


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Understanding and Treatment of       St. Louis, MO                    2001
Pain
New Directions in the                Westin Galleria                  May 4-5, 2001
Understanding and Treatment of       Houston, TX
Pain
New Directions in the                Peabody Memphis                  May 11-12,
Understanding and Treatment of       Memphis, TN                      2001
Pain
New Directions in the                Sheraton Universal City          May 18-19,
Understanding and Treatment of       Universal City, CA               2001
Pain
New Directions in the                Miami Biltmore                   May 18-19,
Understanding and Treatment of       Miami, FL                        2001
Pain


183. At events produced by defendants, physician participants routinely stated

that Neurontin was effective for the treatment of restless leg syndrome or RSD.

Events presented by defendants that discussed Neurontin's use as a treatment for

restless leg syndrome or RSD include, but are not limited to, the following event:

TOPIC                                LOCATION                         DATE

Advisory Board Meeting               Hyatt Regency Hotel              March 29,
                                     San Antonio, TX                  2000


184. At events produced by defendants, physician participants routinely stated

that Neurontin was effective for the treatment of bipolar disorder presented by

defendants that discussed Neurontin's use as a treatment for bipolar disorder

include, but are not limited to, the following events:

TOPIC                                LOCATION                         DATE


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1998 CME Psychiatry Dinner       Maison Robert                 March 16, 1998
Meeting and Teleconference       Boston, MA
Series
1998 CME Psychiatry Dinner       Sunset Grill                  March 16, 1998
Meeting and Teleconference       Nashville, TN
Series
1998 CME Psychiatry Dinner       Pescatore Fish Café           March 16, 1998
Meeting and Teleconference       Seattle, WA
Series
1998 CME Psychiatry Dinner       Patrick’s Bayside Bistro      March 17, 1998
Meeting and Teleconference       St. Pete Beach, FL
Series
1998 CME Psychiatry Dinner       Heathman Hotel                March 17, 1998
Meeting and Teleconference       Portland, OR
Series
1998 CME Psychiatry Dinner       Downtown Club                 March 18, 1998
Meeting and Teleconference       Philadelphia, PA
Series
1998 CME Psychiatry Dinner       Morton’s of Chicago           March 18, 1998
Meeting and Teleconference       Buckhead, Atlanta, GA
Series
1998 CME Psychiatry Dinner       Huntington Hotel              March 18, 1998
Meeting and Teleconference       San Francisco, CA
Series
1998 CME Psychiatry Dinner       Brass Elephant                March 19, 1998
Meeting and Teleconference       Baltimore, MD
Series
1998 CME Psychiatry Dinner       Ristorante DeGrezia           March 19, 1998
Meeting and Teleconference       New York, NY
Series
The Use of Anticonvulsants in    Barcelona, Spain              October 23-25,
Psychiatry                                                     1998
Parke-Davis Speakers             Fairmont Scottsdale           January 21-23,
Bureau Meeting                   Princess, Scottsdale, AZ      2000
Merritt-Putnam Speakers          Four Seasons Regent           March 24-26,
Bureau Current Perspectives in   Beverly Wilshire              2000
the Understanding of             Beverly Hills, CA
Neurobehavioral Disorders


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Advisory Board Meeting               Hyatt Regency Hotel                March 29, 2000
                                     San Antonio, TX
Merritt-Putnam Speakers              Wyndham New Orleans, Canal         April 7-9, 2000
Bureau Meeting                       Place
                                     New Orleans, LA
Merritt-Putnam Speakers              Enchantment Resort                 April 28-30,
Training Advanced Perspectives       Sedona, AZ                         2000
in the Management of
Neurological and Mood
Disorders


185. At events produced by defendants, physician participants routinely stated

that Neurontin was effective for the treatment of social phobia. Events presented

by defendants that discussed Neurontin's use as a treatment for social phobia

include, but are not limited to, the above events.

186. Without favorable results from a well-designed panic disorder clinical trial

that established Neurontin's efficacy for that condition, Parke-Davis had no

reasonable scientific basis for claiming that Neurontin was effective in treating

panic disorder.     Nonetheless, at events produced by defendants, physician

participants routinely stated that Neurontin was effective for the treatment of panic

disorder. Events presented by defendants that discussed Neurontin's use as a

treatment for panic disorder include, but are not limited to, the above events.

187. On September 13, 1996, Parke-Davis submitted a supplemental NDA to

approve Neurontin as monotherapy for partial seizures. The FDA determined the

application to be non-approvable on August 26, 1997, because of insufficiency of


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evidence of Neurontin's effectiveness. The FDA noted that Clinical Study 945-82

failed to yield evidence of effectiveness. Parke-Davis did not make public that its

application for monotherapy had been denied. Representative events at which

defendants continued to make presentations that Neurontin was effective for

monotherapy without disclosing that the FDA had denied its application for a

monotherapy indication include, but are not limited to, the following events:

TOPIC                              LOCATION                           DATE

Monotherapy Speakers Bureau        La Quinta Resort                   September 1997
Meeting                            Palm Springs, CA
Advisory Board Meeting             Hyatt Regency Hotel                March 29, 2000
                                   San Antonio, TX

188. Thereafter, pursuant to marketing strategies and tactics developed by Parke-

Davis and defendants, defendants regularly presented programs in which physician

participants touted Neurontin as being effective for the treatment of migraine.

Events where such presentations were made include, but are not limited to, the

following events:




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TOPIC                                LOCATION                          DATE

Gabapentin in the Management         Short Hills, NJ                   May 25, 1996
of Migraine
Advisory Board Meeting               Hyatt Regency Hotel               March 29, 2000
                                     San Antonio, TX

189. Notwithstanding the FDA's refusal to increase the maximum approved

dosage of Neurontin and its finding that no clinical evidence supported Neurontin's

efficacy at dosages greater than 1800 mg per day, defendants presented numerous

programs where physician participants asserted that Neurontin was effective and

safe at dosages above 1800 mg.              All such representations were false and

misleading. Additionally, at these presentations the physician participants did not

disclose the clinical trial evidence that demonstrated that there was no dose

response above 1800 mg per day. Defendants' failure to provide this information

was a violation of defendants' duties to provide fair and balanced information, and

made any prior representations about use of Neurontin at dosages greater than

1800 mg per day false and misleading. In addition to the events identified above,

other events where these false and misleading statements were made include, but

are not limited to, the following events:

TOPIC                                LOCATION                          DATE

Advisory Board Meeting              Royal Sonesta                      February 4-6,
                                    New Orleans, LA                    2000
Merritt-Putnam Speakers Bureau      Four Seasons Regent                March 24-26,


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Current Perspectives in the        Beverly Wilshire                   2000
Understanding of                   Beverly Hills, CA
Neurobehavioral Disorders
Advisory Board Meeting             Hyatt Regency Hotel                March 29, 2000
                                   San Antonio, TX


190. On or about June 29, 2001, the FDA Division of Drug Marketing,

Advertising and Communications (DDMAC) advised defendants that through

routine monitoring and surveillance, the DDMAC has identified a slim jim (ID

#NSJ5095A1) for Neurontin that is misleading and in violation of the FDCA and

applicable regulations, in that this slim jim misleadingly claims improvement in

quality of life (QOL) parameters based on the Neurontin Evaluation of Outcomes

in Neurological Practice (NEON) study, that among other QOL parameters, the

misleading presentation includes improvement in social limitations, memory

difficulties, energy level, and work limitations, and that the NEON study is not

considered to be substantial evidence for claims of QOL improvements because it

is not a controlled study.

191. On or about July 1, 2002, the DDMAC advised defendants that through

routine monitoring and surveillance, the DDMAC has identified a model (#NE

102254) for Neurontin (gabapentin) that is in violation of the FDCA and applicable

regulations because it makes representations about Neurontin which are false or

misleading, in that this suggestion of proof of the mechanism of action is false and

contrary to the language in the approved product labeling that states "[t]he

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mechanism by which gabapentin [Neurontin] exerts its anticonvulsant action is

unknown," and that, furthermore, the full presentation of the areas of the human

brain accompanied by purported "Mechanism of Action" and the prominent display

of the name "Neurontin" is misleading because it suggests that Neurontin is useful

for a broader range of central nervous system conditions than has been

demonstrated by substantial evidence.

192. From July 1995 through at least August 5, 2002, defendants engaged in a

marketing program to promote the use of Neurontin, and to induce physicians to

prescribe Neurontin, for medical conditions for which the FDA had not approved

Neurontin to be used (i.e., “unapproved” or “off-label” uses).           That program

included:

      a. illegally promoting the sale and use of Neurontin for a variety of

            conditions other than the one condition for which its use was approved by

            the FDA and for which defendants had not performed the required FDA

            testing or established safety and efficacy, in violation of the Federal Food

            Drug and Cosmetic Act, 21 U.S.C. § 331, et seq.;

      b. offering and paying illegal remuneration to doctors, either directly or

            through third parties, to induce them to promote and prescribe Neurontin

            for off-label uses, in violation of the federal Anti-kickback Statute, 42

            U.S.C. § 1320a-7b(b); and;



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      c. making and/or disseminating false statements in presentations and

         marketing literature sales personnel provided to doctors concerning,

         among other things, the uses for which the FDA had approved Neurontin,

         the conditions for which the use of Neurontin was otherwise medically

         accepted and/or the existence of adequate evidence of the safety and

         efficacy for such use.

193. In order to avoid sanction and regulation by the FDA, defendants' off-label

marketing scheme depended on their concealment of their involvement in off-label

promotion of Neurontin, and to make it appear to the public that defendants did not

have any hand in any discussions of off-label use.         In addition, defendants

performed off-label promotion in the semblance of legitimate consultants'

meetings, continuing education seminars, journal articles and medical education

events. Also, defendants' involvement was hidden because defendants hid their

financial connections between the participating physicians and used the vendor

participants as payment intermediaries.      These activities and others described

herein concealed defendants' off-label promotional activities, and plaintiffs could

not have discovered the scheme alleged herein earlier in the exercise of reasonable

diligence. Much of the scheme to this day remains concealed by defendants.

194. The earliest plaintiffs could have reasonably become aware of the off-label

promotion scheme was in May 2003, when the details of defendants' interactions



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with the other participants were disclosed through the filing by a former medical

liaison, Dr. David Franklin, of previously sealed materials in opposition to

defendants' motion for summary judgment in the qui tam action. Alternatively,

plaintiffs in the exercise of reasonable diligence could not have learned of the "off-

label" promotion scheme until some of the details were disclosed when the Court

unsealed Dr. Franklin's Amended Complaint in the qui tam case by in April or May

2002.

195. In addition, defendants fraudulently concealed information and documents

concerning the safety and efficacy of Neurontin, in particular, information and

documents indicating that the ingestion of Neurontin for off-label uses and/or at

high dosages may cause suicidal ideations, gestures and acts.

196. Any applicable statutes of limitation have been tolled by defendants'

knowing and active concealment and denial of the facts alleged herein. Plaintiffs

and other members of the public who were prescribed and ingested Neurontin for

off-label uses have been kept in ignorance of vital information essential to the

pursuit of these claims, without any fault or lack of diligence on their part, and

could not reasonably have discovered the fraudulent nature of defendants' conduct,

and information and documents concerning the safety and efficacy of Neurontin, in

particular, information and documents indicating that the ingestion of Neurontin

for off-label uses and/or at high dosages, may cause suicidal ideations, gestures



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and acts. Accordingly, defendants are stopped from relying on any statute of

limitations to defeat any of plaintiffs’ claims.

197. On information and belief, defendants' "off-label" promotion scheme

continued after the filing of Dr. Franklin's whistleblower complaint and still

continues. For example, through the third quarter of 2002, there were no published

scientific studies to support Neurontin's use for a wide variety of diseases that it is

being prescribed for including anxiety disorder, attention deficit disorder, bipolar

disorder, cluster headache, depression, dosages in excess of 1800 mg per day and

many other disorders that physicians are now prescribing Neurontin for that are

"off-label." Despite this lack of scientific evidence, Neurontin sales for these and

other "off-label" uses have steadily increased, to the point that, according to an

article published in the December 1, 2003 issue of Medical Marketing & Media,

90% of Neurontin sales are for "off-label" use. No other drug in the United States

has such a high percentage of "off-label" use. The same article estimates that $1.8

billion worth of Neurontin has been sold for "off-label" uses. This increase in

sales, and the repeated and increased prescription of Neurontin for "off-label" uses,

without any supporting scientific studies that would be prompting such use, cannot

be a random event and could not occur without continuing "off-label" promotion

by defendants' sales force.




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198. As a result of the activities described above, many of which continue to

occur after Dr. Franklin filed his whistleblower suit, physicians were inundated

with false information about Neurontin. As a result, they continue to prescribe

Neurontin for "off-label" uses for which there is no reliable scientific support.

199. On information and belief, Pfizer has a company-wide practice of marketing

"off-label" indications. "Off-label" marketing plans exist for Cox 2 inhibitors and,

on information and belief, also exist for Neurontin.

200. This continuing course of conduct is evidenced in part by the staggering

growth of Neurontin sales for "off-label" uses.         Because there are no valid

scientific studies supporting such use, a reasonable inference is that the use results

from past and continuing promotional efforts by defendants.           This clear and

unavoidable conclusion follows from observations regarding the ongoing extent of

prescriptions written for "off-label" Neurontin use.

201. First, from the perspective of overall Neurontin sales, "off-label" usage of

Neurontin has actually increased during the years since 1999; in recent years, "off-

label" prescriptions for Neurontin have exceeded 90% of all sales and, in some

months, it appears that approved indication usage is negligible.

202. Second, although Neurontin is prescribed for scores of "off-label"

indications, since 1999 the types of "off-label" usage continue to be weighted in




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the precise areas where defendants focused their illegal marketing efforts: bipolar

disorder, peripheral neuropathy, migraine, etc.

203. Third, these focus treatment areas of continuing unapproved usage are

subject to very intense competition between therapeutic substitutes (other drugs or

treatments). Indeed, because manufacturers' incremental cost for drugs in these

areas is very small (e.g., only pennies to manufacture an additional pill),

manufacturers compete aggressively for market share by spending huge amounts

of money for marketing, promotional and sales activities. If any company was to

simply pack its tent and discontinue programmatic promotional effort in any

therapeutic arena, significant loss of overall sales within that diagnosis regime

would certainly occur. For Neurontin, no such dip in overall sales, let alone any

significant drop, has occurred.

204. Fourth, Pfizer, like most branded drug companies, monitors the relationship

of its sales to its promotional efforts in very short timeframe; Pfizer would be

concerned about a drop in sales within a certain therapeutic regime not after a year

look-back, or even a quarterly look-back, but over just weeks. The persistent

maintenance of high Neurontin sales within multiple, targeted areas for "off-label"

promotion over a period of years defies the conclusion that any significant backing

away on the marketing, sales or promotion of Neurontin to each of those approved

therapeutic areas.



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205. For example, sales of Neurontin for the treatment of bipolar disorder have

steadily increased since its introduction.    This increase is a direct result of

defendants' sales representatives recommending to doctors its use for this purpose

and their distribution of unapproved promotional materials. These promotional

efforts did not stop in 1999, but continued thereafter. There are no valid scientific

studies that support Neurontin's use for bipolar disorders. Dr. C. Seth Landefeld

has submitted an expert opinion in the Franklin litigation that a review of Drugdex

for Neurontin, as of the end of August 2002, reveals "no published scientific

studies to support Neurontin's use for…bipolar disorder." As a result, tens of

thousands of patients who need help and could use other drugs whose effectiveness

has been established were given and are being given Neurontin.                These

prescriptions for this purpose are still being written and as a direct result of

defendants' pre-2000 illegal promotional activities and post-2000 illegal

promotional activities.

206. Likewise, sales of Neurontin for pain, ALS, attention deficit disorder,

depression and dosages in excess of 1800 mg per day, are also increasing without

any scientific evidence supporting use of Neurontin for such indications. Again, as

noted by Dr. Landefeld, as of the end of the third quarter of 2002 "there were no

published scientific studies to support Neurontin's use for" any of these indications

or in an increased dose.



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207. Overall, "off-label" sales of Neurontin have steadily increased since 1998,

and from 2000 to the present have consistently remained at 93% to 94% of all

sales.     Actual sales for approved uses have declined.       Given the absence of

scientific support for such uses, the genesis for those sales can only be past and

continuing efforts by defendants to promote "off-label" use.

208. Defendants made additional fraudulent misrepresentations as to the safety

and effectiveness of Neurontin, which are not detailed herein but will be

determined in discovery.

209. Defendants affirmatively and fraudulently misrepresented that Neurontin

was safe and effective in the treatment of the “conditions” when, in actuality,

Neurontin was ineffective in treating such conditions and instead influenced users

to engage in self-destructive behavior.

210. Defendants affirmatively and fraudulently misrepresented that Neurontin

was safe for human consumption in general, when in actuality; Neurontin

influenced users to engage in self-destructive behavior.

211. Defendants knew that Neurontin was not safe and effective in the treatment

of the “conditions” and that Neurontin was not safe for human consumption in

general because such drug influenced users to engage in self-destructive behavior.

212. Defendants knew that physicians, health care providers, and mental health

care providers would justifiably rely upon defendants’ misrepresentations in



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prescribing Neurontin in the treatment of pain and in prescribing Neurontin for

human consumption in general for the treatment of illnesses and medical and

mental conditions and that the public, including persons such as plaintiffs, would

justifiably rely upon defendants’ misrepresentations in using Neurontin as

prescribed by physicians, health care providers and mental health care providers in

the treatment of the “conditions”.

213. Plaintiffs justifiably relied upon defendants’ misrepresentations and,

accordingly, consumed Neurontin as prescribed by their physicians in the treatment

of the “conditions”.

214. By reason of plaintiffs’ consumption of Neurontin in justifiable reliance

upon defendants’ fraudulent misrepresentations, some of these plaintiffs

successfully and some unsuccessfully attempted suicide and sustained severe

personal injuries, their individual medical records are being provided now. HIPAA

authorizations will be provided upon request.

215. By reason of the foregoing, plaintiffs were severely damages in a sum which

exceeds the jurisdictional limits of all lower courts which would have jurisdiction

of this matter, and in addition, each plaintiff seeks punitive and exemplary

damages against defendants in an amount to be determined upon the trial of this

matter.

                     AS AND FOR A FIFTH CAUSE OF
                   ACTION AGAINST THE DEFENDANTS

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216. Each plaintiff repeats and reiterates the allegations previously set forth

herein.

217. Defendants knowingly and willfully engaged in unfair, deceptive and

unconscionable acts and practices and disseminated information that was

deceptive, misleading and false in a material way, in connection with the

promotion and sale of Neurontin, in violation of N.J.S.A. § 56:8-2, for the purpose

of influencing and inducing physicians and medical providers to prescribe

Neurontin, at excessively high dosages, for unapproved “off-label” uses, including

the “conditions” to disabled patients/consumers such as plaintiffs, and knowingly

took advantage of the inability of disabled patients/consumers such as plaintiffs

reasonably to protect their interests because of their physical and mental

impairments and causing such disabled patients/consumers to purchase, acquire

and use Neurontin, at high dosages, for unapproved “off-label” uses, including the

“conditions”, as prescribed by their physicians and medical providers.

218. By reason of defendants’ unconscionable, deceptive and unfair acts and

practices and dissemination of deceptive misleading and false information,

reasonable patients/consumers acting reasonably, such as plaintiffs, were caused to

successfully and unsuccessfully commit suicide and to sustain actual damages and

injuries.




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219. By reason of the foregoing, each plaintiff sustained actual damages in a sum

which exceeds the jurisdictional limits of all lower courts which would have

jurisdiction of this matter, and in addition, plaintiffs seek punitive and exemplary

damages against defendants in an amount to be determined upon the trial of this

matter, costs and reasonable attorney fees.


      WHEREFORE, each plaintiff above demand judgment against the

defendants as follows:

      a. The sum of $100,000,000.00 each on the First Cause of Action, together

      with punitive damages and exemplary damages in an amount to be

      determined upon the trial of this Action; not exceeding 9-1 per State Farm

      Mutual Auto Insurance Co. v. Campbell, 123 S.Ct. 1513 (2003)

      b. The sum of $100,000,000.00 each on the Second Cause of Action,

      together with punitive damages and exemplary damages in an amount to be

      determined upon the trial of this Action;

      c. The sum of $100,000,000.00 each on the Third Cause of Action, together

      with punitive damages and exemplary damages in an amount to be

      determined upon the trial of this Action;

      d. The sum of $100,000,000.00 each on the Fourth Cause of Action,

      together with punitive damages and exemplary damages in an amount to be

      determined upon the trial of this Action;

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e. A sum which exceeds the jurisdictional limits of all lower courts which

the jury would find to be fair, adequate and just on the Fifth Cause of

Action, together with punitive damages and exemplary damages in an

amount to be determined upon the trial of this Action, and reasonable

attorney’s fees, as may be found by the Court upon the trail of this Action,

together with the interest, costs and disbursements of this Action.



                                Respectfully submitted,


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